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                              UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                                      CASE NO: 6:16-cr-24-Orl-31GJK

    JASON ALEXANDER PHIFER


                                                  ORDER
              This cause came on for consideration without oral argument on the following motion filed

    herein:

              MOTION:       MOTION TO DISMISS (Doc. No. 114)

              FILED:        March 20, 2019



              THEREON it is ORDERED that the motion is GRANTED. The Indictment
              pending against Jason Alexander Phifer is hereby DISMISSED, without
              prejudice. The Clerk is directed to close the case.

              DONE and ORDERED in Orlando, Florida on March 21, 2019.




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
